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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 ELAINE WANG,                                      )
                                                   )
                        Plaintiff,                 )
                                                   ) Case No. 1:20-cv-00475-LPS
        v.                                         )
                                                   )
 THE MEET GROUP, INC., JEAN CLIFTON,               )
 GEOFFREY COOK, CHRISTOPHER                        )
 FRALIC, SPENCER RHODES, KEITH                     )
 RICHMAN, BEDI SINGH, AND JASON                    )
 WHITT,                                            )
                                                   )
                        Defendants.                )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”). Defendants have filed neither an

answer nor a motion for summary judgment in the Action.

 Dated: July 24, 2020                               RIGRODSKY & LONG, P.A.

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